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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                           SOUTHERN DISTRICT OF ALABAMA
                                 SOUTHERN DIVISION

CARL A. PERRY, JR.,                             :

       Plaintiff,                               :

vs.                                             : CIVIL ACTION 02-0508-BH-C

DONAL CAMPBELL, et al.,                         :

       Defendants.                              :


                                               ORDER

       After due and proper consideration of all portions of this file deemed relevant to the

issues raised, and a de novo determination of those portions of the Recommendation to

which objection is made, the Recommendation of the Magistrate Judge made under 28

U.S.C. § 636(b)(1)(B) is ADOPTED as the opinion of this Court. It is ORDERED that

Plaintiff’s Complaint be and is hereby DISMISSED with prejudice.

       DONE this 28th day of November, 2005.

                                                                               s/ W. B. Hand
                                                                          SENIOR DISTRICT JUDGE
